                   Case 9:17-cv-00820-GTS-CFH Document 5 Filed 08/04/17 Page 1 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Northern District
                                                    __________ Districtof
                                                                        ofNew York
                                                                          __________

                         Brian Garofal                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.
                                                                     )
                                                                             Civil Action No.   9:17-cv-820 (GTS/CFH)
 MATTHEW MONTANYE, JASON GUILBEAULT, J.                              )
 GORI, and JOHN DOES #1–3, Correction Officers;                      )
  BRUCE CHAMBERLAIN, Correction Sergeant, in                         )
            their individual capacities,                             )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bruce Chamberlain
                                           Greene Correctional Facility
                                           165 Plank Road
                                           P.O. Box 8
                                           Coxsackie, New York 12051-0008



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Raj Borsellino
                                           Paul, Weiss, Rifkind, Wharton & Garrison LLP
                                           1285 Avenue of the Americas
                                           New York, NY 10019-6064



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date: August07/26/2017
             4, 2017
                                                                                          Signature of Clerk or Deputy Clerk
                    Case 9:17-cv-00820-GTS-CFH Document 5 Filed 08/04/17 Page 2 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   Case 9:17-cv-00820-GTS-CFH Document 5 Filed 08/04/17 Page 3 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Northern District
                                                    __________ Districtof
                                                                        ofNew York
                                                                          __________

                         Brian Garofal                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 9:17-cv-820 (GTS/CFH)
                                                                     )
 MATTHEW MONTANYE, JASON GUILBEAULT, J.                              )
 GORI, and JOHN DOES #1–3, Correction Officers;                      )
  BRUCE CHAMBERLAIN, Correction Sergeant, in                         )
            their individual capacities,                             )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) J. Gori
                                           Greene Correctional Facility
                                           165 Plank Road
                                           P.O. Box 8
                                           Coxsackie, New York 12051-0008



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Raj Borsellino
                                           Paul, Weiss, Rifkind, Wharton & Garrison LLP
                                           1285 Avenue of the Americas
                                           New York, NY 10019-6064



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:     August07/26/2017
                 4, 2017
                                                                                          Signature of Clerk or Deputy Clerk
                    Case 9:17-cv-00820-GTS-CFH Document 5 Filed 08/04/17 Page 4 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   Case 9:17-cv-00820-GTS-CFH Document 5 Filed 08/04/17 Page 5 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Northern District
                                                    __________ Districtof
                                                                        ofNew York
                                                                          __________

                         Brian Garofal                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 9:17-cv-820 (GTS/CFH)
                                                                     )
 MATTHEW MONTANYE, JASON GUILBEAULT, J.                              )
 GORI, and JOHN DOES #1–3, Correction Officers;                      )
  BRUCE CHAMBERLAIN, Correction Sergeant, in                         )
            their individual capacities,                             )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jason Guilbeault
                                           Greene Correctional Facility
                                           165 Plank Road
                                           P.O. Box 8
                                           Coxsackie, New York 12051-0008



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Raj Borsellino
                                           Paul, Weiss, Rifkind, Wharton & Garrison LLP
                                           1285 Avenue of the Americas
                                           New York, NY 10019-6064



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:      August 4, 2017
               07/26/2017
                                                                                          Signature of Clerk or Deputy Clerk
                    Case 9:17-cv-00820-GTS-CFH Document 5 Filed 08/04/17 Page 6 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
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                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   Case 9:17-cv-00820-GTS-CFH Document 5 Filed 08/04/17 Page 7 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Northern District
                                                    __________ Districtof
                                                                        ofNew York
                                                                          __________

                         Brian Garofal                                 )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No.   9:17-cv-820 (GTS/CFH)
                                                                       )
 MATTHEW MONTANYE, JASON GUILBEAULT, J.                                )
 GORI, and JOHN DOES #1–3, Correction Officers;                        )
  BRUCE CHAMBERLAIN, Correction Sergeant, in                           )
            their individual capacities,                               )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Matthew Montanye
                                           11 Palmer Road
                                           Catskill, NY 12414-0186




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are: Raj Borsellino
                                           Paul, Weiss, Rifkind, Wharton & Garrison LLP
                                           1285 Avenue of the Americas
                                           New York, NY 10019-6064



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                                                                                  CLERK OF COURT


Date: August07/26/2017
             4, 2017
                                                                                            Signature of Clerk or Deputy Clerk
                    Case 9:17-cv-00820-GTS-CFH Document 5 Filed 08/04/17 Page 8 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
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                                                                                on (date)                             ; or

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           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
